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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                     CASE NO. 17-cv-21123-CMA
   RENZO BARBERI,

                  Plaintiff,

                  vs.

   VICKY'S TIRE FORMULA 1, INC., a
   Florida Profit Corporation, and TOMAS D.
   FONSECA, an Individual

               Defendants.
   _______________________________/
                                       NOTICE OF HEARING

         YOU ARE HEREBY NOTIFIED that the above styled cause will be called for a discovery

  hearing before the Honorable Jonathan Goodman at 99 N.E Fourth Street, 11th Floor,

  Courtroom 3, Miami, Florida 33132, on December 1, 2017, at 5:30 p.m.

                               Substance of Discovery Matter to be Heard

         Defendants request sanctions to be imposed upon Plaintiff for failure of Plaintiff’s counsel

  to appear at the deposition noticed for October 10, 2017 and failure of Plaintiff’s expert, Jon

  Kronillis to appear at the deposition noticed for November 14, 2017.

                                   Local Rule 7.1(a)(3) Certification

         Pursuant to Local Rule 7.1(a)(3), counsel for the movant conferred with counsel for

  Plaintiff, Renzo Barberi, on November 14, 2017 via telephone in a good faith effort to resolve

  the issues raised above prior to setting the hearing and have been unable to reach an agreement.

                                       CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 14, 2017, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
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  is being served this day on all counsel of record via transmission of Notices of Electronic Filing

  generated by CM/ECF.

                                                   Respectfully submitted,

                                                   By: /s/ Kenneth L. Minerley
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